•    •



                  Case 3:21-cr-01550-W Document 52 Filed 12/06/21 PageID.121 Page 1 of 5
    AO 245B (CASO Rev. 1/19) Judgment in a Criminal Case



                                             UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA
                  UNITED STATES OF AMERJCA                               JUDGMENT IN A CRIMINAL CASE
                                        V.                               (For Offenses Committed On or After November 1, 1987)
                          KALEB COOPER ( 1)
                                                                            Case Number:        3:21-CR-01550-W

                                                                         Vikram Monder
                                                                         Defendant's Attorney
    USM Number                           01569-506
    • -
    THE DEFENDANT:
    IZI pleaded guilty to count              1 of the Information

    D     was found guilty on count(s)
          after a plea of not guilty.
    Accordingly, the defendant is adjudged guilty of such count, which involves the following offense:


    Title and Section / Nature of Offense                                                                                  Count
    21 :952, 960 - Importation Of Methamphetamine (Felony)                                                                     1




         The defendant is sentenced as provided in pages 2 through    _ ___.:.5___ of this judgment.
    The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

    D     The defendant has been found not guilty on count(s)

    D     Count(s)                                                  is         dismissed on the motion of the United States.

    IZ]   Assessment : $100.00


    •     JVTA Assessment* : $

          *Justice for Victims of Trafficking Act of 2015 , Pub. L. No. 114-22.
    IZI   No fine                       D Forfeiture pursuant to order filed                                       , included herein.
           IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
    judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
    any material change in the defendant' s economic circumstances.

                                                                         December 6. 2021


                                                                         HON. THOMAS J. W E AN
                                                                         UNITED STA TES DI TRI CT JUDGE
,.   ..              Case 3:21-cr-01550-W Document 52 Filed 12/06/21 PageID.122 Page 2 of 5
          AO 245B (CASO Rev. 1/19) Judgment in a Criminal Case

          DEFENDANT:                KALEB COOPER (1)                                                         Judgment - Page 2 of 5
          CASE NUMBER:              3 :21-CR-0 1550-W

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
           27 months.




           •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
           ~     The court makes the following recommendations to the Bureau of Prisons:
                 Defendant to serve custodial term at a Western Region facility.
                 Defendant to participate in the 500-hour Residential Drug and Alcohol Abuse Program (RDAP).




           •     The defendant is remanded to the custody of the United States Marshal.

           •     The defendant must surrender to the United States Marshal for this district:
                 •     at                             A.M.              on
                 •     as notified by the United States Marshal.

                 The defendant must surrender for service of sentence at the institution designated by the Bureau of
           •     Prisons:
                 •     on or before
                 •     as notified by the United States Marshal.
                 •     as notified by the Probation or Pretrial Services Office.

                                                                 RETURN

           I have executed this judgment as follows:

                 Defendant delivered on                                            to
                                                                                        ----------------
           at - - - - - - - - - -- - , with a certified copy of this judgment.


                                                                             UNITED STATES MARSHAL



                                               By                    DEPUTY UNITED STA TES MARSHAL



                                                                                                               3:21-CR-01550-W
                Case 3:21-cr-01550-W Document 52 Filed 12/06/21 PageID.123 Page 3 of 5

     AO 2458 (CASO Rev. 1/ 19) Judgment in a Criminal Case

     DEFENDANT:               KALEB COOPER (I)                                                              Judgment - Page 3 of 5
     CASE NUMBER:             3:21-CR-01550-W

                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
3 years.

                                              MANDATORY CONDITIONS
I.   The defendant must not commit another federal , state or local crime.
2.   The defendant must not unlawfully possess a controlled substance.
3.   The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
     controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
     two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
     than 8 drug tests per month during the term of supervision, unless otherwise ordered by the court.
          • The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
             risk of future substance abuse. (check if applicable)
4.   • The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
     a sentence of restitution. (check if applicable)
5.    ~The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.   • The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
     2090 I, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
     the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
     applicable)
7.   • The defendant must participate in an approved program for domestic violence. (check if applicable)
The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




                                                                                                              3:21-CR-01550-W
.   .                 Case 3:21-cr-01550-W Document 52 Filed 12/06/21 PageID.124 Page 4 of 5
         AO 245B (CASO Rev. 1/19) Judgment in a Criminal Case

         DEFENDANT:                  KALEB COOPER (I)                                                                        Judgment - Page 4 of 5
         CASE NUMBER:                3 :21-CR-0 1550-W

                                              STANDARD CONDITIONS OF SUPERVISION
        As part of the defendant's supervised release, the defendant must comply with the following standard conditions of
        supervision . These conditions are imposed because they establish the basic expectations for the defendant's behavior
        while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
        court about, and bring about improvements in the defendant's conduct and condition.

        1. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
           hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
           office or within a different time frame.

        2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
           about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
           as instructed.

        3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
           getting permission from the court or the probation officer.

        4. The defendant must answer truthfully the questions asked by their probation officer.

        5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
           anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
           probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
           unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
           expected change.

        6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
           permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
           view.

        7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
           excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
           time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
           defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
           probation officer at least 10 days before the change. lfnotifying the probation officer at least 10 days in advance is not possible
           due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
           change or expected change.

        8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
           knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
           first getting the permission of the probation officer.

        9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours .

        IO . The defendant must not own, possess, or have access to a firearm , ammunition, destructive device, or dangerous weapon (i .e.,
             anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
             as nunchakus or tasers).

        11 . The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
             informant without first getting the permission of the court.

        12. lf the probation officer determines the defendant poses a risk to another person (including an organization), the probation
            officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
            The probation officer may contact the person and confirm that the defendant notified the person about the risk.

        13 . The defendant must follow the instructions of the probation officer related to the conditions of supervision.



                                                                                                                              3:21-CR-01550-W
            Case 3:21-cr-01550-W Document 52 Filed 12/06/21 PageID.125 Page 5 of 5
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:              KALEB COOPER (1)                                                     Judgment - Page 5 of 5
CASE NUMBER:            3:21-CR-01550-W

                                SPECIAL CONDITIONS OF SUPERVISION


     1. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
        directed by the probation officer. Allow for reciprocal release of information between the probation
        officer and the treatment provider. May be required to contribute to the costs of services rendered in an
        amount to be determined by the probation officer, based on ability to pay.
     2. Participate in a program of mental health treatment as directed by the probation officer, take all
        medications as prescribed by a psychiatrist/physician reasonably related to the treatment of
        anxiety/paranoid schizophrenia, and not discontinue any medication without permission. The court
        authorizes the release of the presentence report and available psychological evaluations to the mental
        health provider, as approved by the probation officer. Allow for reciprocal release of information between
        the probation officer and the treatment provider. May be required to contribute to the costs of services
        rendered in an amount to be determined by the probation officer, based on ability to pay.
     3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
     4. Submit your person, property, place of residence, vehicle, or personal effects to a search, including
        computers (as defined in 18 U.S.C. § 1030(e)(l)) and electronic storage devices, conducted by a United
        States Probation Officer or law enforcement officer at a reasonable time and in a reasonable manner, based
        upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to
        submit to a search may be grounds for revocation; the defendant shall warn any other residents that the
        premises may be subject to searches pursuant to this condition.

II




                                                                                               3:21-CR-01550-W
